     Case 3:18-cv-02615-JO-DDL Document 72 Filed 08/16/22 PageID.5346 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
10
11    IN RE TRANSFER OF CASES FROM                    TRANSFER ORDER
      MAGISTRATE JUDGE DANIEL E.
12
      BUTCHER TO MAGISTRATE JUDGE
13    DAVID D. LESHNER
14
15         IT IS HEREBY ORDERED that the following listed cases are transferred from the
16   calendar of the Honorable Daniel E. Butcher to the calendar of the Honorable
17   David D. Leshner for all further proceedings. All conferences or hearing dates previously
18   set before Judge Butcher will remain on calendar as scheduled but will be set before
19   Judge Leshner. All dates set before any district judge in the transferred cases will remain
20   unchanged.
21   Case No.                        Case Title
22   22-cv-1086-BAS-DEB              Pontus Mag Vallejo, LLC v. West American Insurance
23                                   Company et al.
24   22-cv-1062-AJB-DEB              Leiva Castro et al. v. BAE Systems, Inc. et al.
25   20-cv-1082-LL-DEB               Tan v. Quick Box, LLC et al.
26   18-cv-02615-JO-DEB              Kelly v. City of Poway
27   21-cv-00611-JO-DEB              Kelly v. City of Poway
28   22-cv-1118-LL-DEB               Pacific Vibrations, LLC v. Slow Gold Limited et al.

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                                                                                       Transfer Order
     Case 3:18-cv-02615-JO-DDL Document 72 Filed 08/16/22 PageID.5347 Page 2 of 2



 1   21-cv-1458-JLS-DEB           Gastelum v. Pinnacle Hotel Circle LP
 2   21-cv-1141-LAB-DEB           3D Systems, Inc. v. Wynne et al.
 3   21-cv-2101-AJB-DEB           Ashirwad et al. v. Charter Communications, LLC et al.
 4   20-cv-765-GPC-DEB            Travelers Indemnity Company of Connecticut v. Newlin et
 5                                al.
 6   22-cv-541-CAB-DEB            Tirgari v. Kazemipour et al.
 7   21-cv-2137-MMA-DEB           Kimera Labs Inc v. Jayashankar et al.
 8   21-cv-1389-JO-DEB            Gastelum v. HEES II
 9         IT IS SO ORDERED.
10   Dated: August 16, 2022
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